Case 1:11-cr-00030-KAM-RER Document
                               DATE:710  Filed 03/01/12 Page 1 of 1 PageID #: 3246
                                     3/1/2012

    BEFORE: MATSUMOTO U.S.D.J.                                            TIME: 2:00pm,

                           CRIMINAL CAUSE FOR SENTENCING

 SENTENCING llCR30 (KAM) U.S.A. JUSEINOSKI

 DEFENDANT'S NAME: ALI JUSEINOSKI
 V'Present 0 not present 0 custody V' bail

 DEFENSE COUNSEL: JOHN WALLENSTEIN
 V' present 0 not present V' CJA retained                o Federal Defender

 A.U.S.A: AlIon Lifshitz

COURT REPORTER:            Marie Foley      Deputy: Sandra Jackson

tI' CASE CALLED.      tI' DEFENDANT SWORN AND INFORMED OF RIGHTS
tI' SENTENCING HELD.  tl'STATEMENTS OF DEFENDANT AND COUNSEL HEARD
tI' DEFENDANT PLEA GUILTY ON COUNT ONE OF A SIXTY COUNT INDICTMENT.

IMPRISONMENT: 14 months with credit for time served special conditions.

The court makes the following recommendations to the Bureau of Prisons:

(a) Defendant shall surrender for service of sentence at the institution designated by BOP
    before 2:00p.m. on April 30, 2012

(b) The Court respectfully recommends that BOP attempt to place defendant in Fort Dix, and provide
    defendant with educational and vocational training.

SUPERVISED RELEASE: Defendant shall serve 3 years supervised release with special conditions.



$100.00      Special Assessment          _Restitution         $4.000 Fine

Defendant shall comply with the fine payment schedule.

 V' REMAINING OPEN COUNTS 33 & 43 OF THE INDICTMENT ARE DISMISSED
 V' GOVT'S MOTION      0 COURT'S MOTION


V' COURT ADVISED DEFT OF RIGHT TO APPEAL.                       o I.F.P. GRANTED

V' TRANSCRIPT ORDERED

o ICE DETAINER

V'GOVT SHALL ARRANGE FOR THE RETURN OF DEFENDANT'S PROPERTY, IF ANY.
